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   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28369




                    Exhibit
      Evidence Packet in Support of Defendant’s Motions for Summary Judgment




                                                               Evidence Packet P.0093
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 2 of 55 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28370




                                                       Evidence Packet P.0094
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 3 of 55 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28371




                                                       Evidence Packet P.0095
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 4 of 55 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28372




                                                       Evidence Packet P.0096
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 5 of 55 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28373




                                                       Evidence Packet P.0097
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 6 of 55 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28374




                                                       Evidence Packet P.0098
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 7 of 55 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28375




                                                       Evidence Packet P.0099
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 8 of 55 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28376




                                                       Evidence Packet P.0100
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 9 of 55 Page ID
   REDACTED VERSION OF DOCUMENT     PROPOSED TO BE FILED UNDER SEAL
                                #:28377




                                                       Evidence Packet P.0101
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 10 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28378




                                                       Evidence Packet P.0102
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 11 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28379




                                                       Evidence Packet P.0103
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28380




                                                       Evidence Packet P.0104
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28381




                                                       Evidence Packet P.0105
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28382




                                                       Evidence Packet P.0106
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 15 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28383




                                                       Evidence Packet P.0107
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 16 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28384




                                                       Evidence Packet P.0108
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 17 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28385




                                                       Evidence Packet P.0109
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28386




                                                       Evidence Packet P.0110
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 19 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28387




                                                       Evidence Packet P.0111
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 20 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28388




                                                       Evidence Packet P.0112
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 21 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28389




                                                       Evidence Packet P.0113
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 22 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28390




                                                       Evidence Packet P.0114
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 23 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28391




                                                       Evidence Packet P.0115
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 24 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28392




                                                       Evidence Packet P.0116
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28393




                                                       Evidence Packet P.0117
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 26 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28394




                                                       Evidence Packet P.0118
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 27 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28395




                                                       Evidence Packet P.0119
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 28 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28396




                                                       Evidence Packet P.0120
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28397




                                                       Evidence Packet P.0121
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 30 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28398




                                                       Evidence Packet P.0122
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 31 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28399




                                                       Evidence Packet P.0123
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 32 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28400




                                                       Evidence Packet P.0124
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 33 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28401




                                                       Evidence Packet P.0125
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 34 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28402




                                                       Evidence Packet P.0126
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 35 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28403




                                                       Evidence Packet P.0127
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 36 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28404




                                                       Evidence Packet P.0128
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 37 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28405




                                                       Evidence Packet P.0129
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 38 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28406




                                                       Evidence Packet P.0130
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 39 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28407




                                                       Evidence Packet P.0131
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 40 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28408




                                                       Evidence Packet P.0132
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 41 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28409




                                                       Evidence Packet P.0133
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 42 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28410




                                                       Evidence Packet P.0134
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 43 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28411




                                                       Evidence Packet P.0135
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28412




                                                       Evidence Packet P.0136
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 45 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28413




                                                       Evidence Packet P.0137
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28414




                                                       Evidence Packet P.0138
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28415




                                                       Evidence Packet P.0139
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28416




                                                       Evidence Packet P.0140
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   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28417




                                                       Evidence Packet P.0141
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 50 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28418




                                                       Evidence Packet P.0142
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 51 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28419




                                                       Evidence Packet P.0143
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 52 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28420




                                                       Evidence Packet P.0144
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 53 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28421




                                                       Evidence Packet P.0145
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 54 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28422




                                                       Evidence Packet P.0146
Case 2:15-cv-05346-CJC-E Document 438-7 Filed 10/09/20 Page 55 of 55 Page ID
   REDACTED VERSION OF DOCUMENT      PROPOSED TO BE FILED UNDER SEAL
                                 #:28423




                                                       Evidence Packet P.0147
